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WittiIAM Eart HILTon

Sheriff and Tax Collector ~ Rapides Parish

 

December 19, 2018

Denuty Jerry McKinney
Rapides Parish Sheriff's Office
701 Murray Street, Suite 301
Alexandria, LA 71301

RE: Request for Alternative Assignment

Dear Deputy McKinney:

In reference to your letter dated December 17, 2018, as we informed you in our letter dated
December 10, 2018, you do not meet “POST” requirements for that of a law enforcement officer

and there are no other positions available in the department for which you are qualified.

This letter is to inform you that effective immediately your services with the Rapides Parish
Sheriff's Office are no longer needed.

Please turn in all Rapides Parish Sheriff's Department property that you have in your possession
to the Human Resources Department.

Sincerely,

William E. Hilton
Sheriff

WEH/dm

cc: Major Doug Hollingsworth
Internal Affairs
Human Resources
Finance

701 Murray Street | Post Office Box 1510 | Alexandria, Louisiana 71309
Phone 318.473.6700 | Fax: 318.449.5455 | www.rpso.org

 
